Case 1:05-cr-10183-MLW Document 476 Filed 01/31/23 Page 1 of 10
Case 1:05-cr-10183-MLW Document 476 Filed 01/31/23 Page 2 of 10
Case 1:05-cr-10183-MLW Document 476 Filed 01/31/23 Page 3 of 10
Case 1:05-cr-10183-MLW Document 476 Filed 01/31/23 Page 4 of 10
Case 1:05-cr-10183-MLW Document 476 Filed 01/31/23 Page 5 of 10
Case 1:05-cr-10183-MLW Document 476 Filed 01/31/23 Page 6 of 10
Case 1:05-cr-10183-MLW Document 476 Filed 01/31/23 Page 7 of 10
Case 1:05-cr-10183-MLW Document 476 Filed 01/31/23 Page 8 of 10
Case 1:05-cr-10183-MLW Document 476 Filed 01/31/23 Page 9 of 10
Case 1:05-cr-10183-MLW Document 476 Filed 01/31/23 Page 10 of 10
